                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
        v.                                      )       Case No. 14-00027-CR-BP-4
                                                )
ALICIA L. PAIGE,                                )
                                                )
               Defendant.                       )

                                            ORDER

        This matter comes before the Court on Defendant’s Motion for Determination of

Competency. (Doc. 74.) Magistrate Judge John T. Maughmer has recommended that Defendant

be found competent to understand the nature and consequence of the proceedings against her and

to assist properly in her defense. (Doc. 93.) Defendant does not object.

        After an independent and careful review, the Court ADOPTS Judge Maughmers’ Report

and Recommendation, (Doc. 93), and finds Defendant competent.

        IT IS SO ORDERED.


                                                    /s/Beth Phillips
                                                    BETH PHILLIPS, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATE:          4/14/2015




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